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 6

 7

 8                                    UNITED STATES DISTRICT COURT
 9                               NORTHERN DISTRICT OF CALIFORNIA
10                                       SAN FRANCISCO DIVISION
11
     UNITED STATES OF AMERICA,                       Case No. 3:21-CR-00155-JD
12
                                                     CARLOS KEPKE’S NOTICE OF
                         Plaintiff,
13                                                   MOTION AND MEMORANDUM OF
                                                     POINTS AND AUTHORITIES IN
            v.
14                                                   SUPPORT OF MOTION TO EXCLUDE,
                                                     OR IN THE ALTERNATIVE, TO LIMIT
     CARLOS E. KEPKE,
15                                                   CERTAIN OPINIONS AND
                                                     TESTIMONY OF BRUCE G.
                         Defendant.
16                                                   DUBINSKY

17
                                                     Date:        August 29, 2022
18                                                   Time:        10:30 a.m.
                                                     Courtroom:   11
19                                                   Judge:       Hon. James Donato

20

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         REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
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 1                                         NOTICE OF MOTION

 2           Please take notice that on August 29, 2022, at 10:30 a.m., or as soon thereafter as the matter

 3   may be heard, Defendant Carlos E. Kepke (“Mr. Kepke”) will and does hereby move to exclude

 4   certain opinions and testimony of the United States’ expert, Bruce G. Dubinsky (“Mr. Dubinsky”)

 5   on the grounds that portions of Mr. Dubinsky’s opinion and proffered testimony are irrelevant and

 6   unreliable under Federal Rule of Evidence 702 and Daubert v. Merrell Dow Pharm., Inc., 509 U.S.

 7   579 (1993).

 8           This motion is supported by the attached Memorandum of Points and Authorities, the

 9   Declaration of Grant P. Fondo in Support of Mr. Kepke’s Daubert Motion (“Fondo Decl.”) and the

10   exhibit attached thereto, all pleadings and papers which are of record and on file in this case, and

11   such other oral and documentary evidence as may be presented at the hearing of this motion.

12                        MEMORANDUM OF POINTS AND AUTHORITIES

13   I.      INTRODUCTION

14           On April 15, 2021, the government charged Carlos Kepke with one count of Conspiracy to

15   Defraud the United States in violation of 18 U.S.C. § 371, 1 and three counts of Aiding and Assisting

16   in the Preparation of a Materially False Income Tax Return in violation of 26 U.S.C. § 7206(2).2

17   The government alleges that Mr. Kepke assisted Robert F. Smith, the founder, Chairman, and CEO

18   of Vista Equity Partners, a private equity firm headquartered in San Francisco, in Mr. Smith’s

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     1
20     Conspiracy requires: (1) the existence of an agreement to either commit any offense against the
     United States, here tax evasion; and/or defraud the United States “by impeding, impairing,
21   obstructing and defeating the lawful government functions of the Internal Revenue Service of the
     Department of the Treasury in the ascertainment, computation, assessment, and collection of the
22   revenue: to wit income taxes”; (2) a defendant’s knowing and voluntary participation in the
23   conspiracy; and (3) the commission of an overt act in the furtherance of the conspiracy. See 18
     U.S.C. § 371.
24
     Tax evasion requires: (1) the existence of a tax deficiency; (2) an affirmative act constituting
25   evasion or attempted evasion of tax—“any conduct, the likely effect of which would be to mislead
     or to conceal”; and (3) willfulness in the attempted evasion of taxes. 26 U.S.C. § 7201.
26
     2
27     Aiding and abetting requires: (1) the defendant associated with the criminal venture; (2) the
     defendant knowingly participated in the venture; and (3) the defendant sought by his actions to
28   make the venture succeed. 18 U.S.C. § 2.

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 1   efforts to evade paying his personal income taxes and in filing materially false income tax returns

 2   for the years 2012, 2013 and 2014.

 3            In support of its claims, the government seeks to introduce the expert testimony of a forensic

 4   accounting, tax, and fraud investigations advisor, Bruce G. Dubinsky. The Court should exclude,

 5   or in the alternative significantly limit, substantial portions of the opinions and testimony offered

 6   in the Expert Report of Bruce G. Dubinsky, dated July 11, 2022 (the “Dubinsky Report”). 3

 7   Although Mr. Dubinsky may be qualified to provide expert testimony regarding forensic

 8   accounting, damages, or fraud topics, he is not qualified to opine on the proper role of individual

 9   and entities for foreign grantor and/or non-grantor trusts under U.S. law, as he has no formal legal

10   training or experience establishing or maintaining these sorts of legal entities. Moreover, the

11   Dubinsky Report is replete with purported expert opinions on legal conclusions and factual

12   findings—all of which the Court must exclude.

13   II.      FACTUAL BACKGROUND

14            Mr. Kepke is an 83-year old retired tax attorney who is a long-term resident of Houston,

15   Texas. Prior to retirement, Mr. Kepke’s law practice focused on the creation of and use of foreign

16   asset protection and foreign non-grantor trusts (“offshore structures”) for clients. In or around

17   March 2000, Mr. Smith approached Mr. Kepke because of his expertise in creating and using

18   offshore structures. Mr. Smith directed Mr. Kepke and specifically                                  an

19   offshore Belizean trust—the Excelsior Trust.

20            On June 3, 2022, the government served and filed a “Notice of Intent to Offer Expert

21   Testimony and Summaries of Voluminous Evidence” of Mr. Dubinsky. See ECF No. 45. The

22   government also provided Mr. Kepke’s counsel with a draft of the Dubinsky Report. Mr. Dubinsky

23   intends to opine, inter alia: (1) that Mr. Smith caused the formation of, and controlled, an

24   elaborately complex network of offshore entities in known tax havens and which engaged in a series

25   of transactions that were designed to obfuscate their existence and, ultimately, defeat taxation of

26   the gains of the Excelsior Trust; (2) Mr. Smith’s transactions involving transfers of money and

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     3
28       Attached hereto as Exhibit 1 to the Fondo Decl.

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 1   other property to his offshore-controlled entities lacked true economic substance; (3) Excelsior

 2   Trust, an offshore Belizean trust that Mr. Smith caused to be formed in March 2000, was

 3   purportedly established as a non-grantor trust, but in reality, was a grantor trust, controlled in all

 4   material respects by Mr. Smith; and (4) by excluding income from Excelsior Trust, Mr. Smith’s

 5   original U.S. federal income tax filings from 2010-2014 were false and misleading.

 6           Mr. Dubinsky is a senior advisor in the Governance and Risk Advisory business unit at

 7   Kroll, LLC. His practice “places special emphasis on providing forensic accounting, fraud

 8   investigations and dispute analysis” to a variety of clients, including governmental agencies, law

 9   enforcement bodies, and self-regulatory organizations. See id. Mr. Dubinsky has earned two

10   accounting and tax degrees, including a Bachelor of Science degree in Accounting and Master’s

11   degree in Taxation. He also holds licenses and certifications in the accounting, forensics, and

12   valuations fields. For example, he is a Certified Public Accountant (“CPA”), Certified Fraud

13   Examiner (“CFE”), and Certified Valuation Analyst (“CVA”). See Dubinsky Report, Appendix A.

14   Additionally, Mr. Dubinsky has been qualified and testified as an expert witness in numerous cases

15   in federal and state courts and other tribunals in a variety of forensic accounting, fraud

16   investigations, damages and valuations, taxation, and accounting areas.       Id. According to Mr.

17   Dubinsky’s curriculum vitae, he has provided testimony as an expert witness over “100 times and

18   has testified in over 70 trials.” Id.

19           Mr. Dubinsky’s expertise, in plain terms, is in “following the money.” Notably absent from

20   Mr. Dubinsky’s lengthy resume, however, is any indication that he has special knowledge,

21   experience, or expertise related to the operation or creation of offshore structures from a legal

22   perspective, including any professional or personal experience establishing or maintaining these

23   legal entities. See id. Mr. Dubinsky is not an attorney, nor has he ever attended law school, or

24   received any formal legal training. Mr. Dubinsky’s testimonial record is also devoid of any

25   expertise or experience regarding the legality, operation, formation, or use of offshore structures,

26   including trusts. See id.

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 1   III.     LEGAL STANDARD

 2            Rule 702 of the Federal Rules of Evidence empowers district court judges to act as

 3   “gatekeep[ers]” of expert testimony to ensure that it is both relevant and reliable. Daubert v. Merrill

 4   Dow Pharm., Inc., 509 U.S. 579, 597 (1993). The trial judge “may exclude testimony that falls

 5   short of achieving either end.” Stilwell v. Smith & Nephew, Inc., 482 F.3d 1187, 1192 (9th Cir.

 6   2007) (internal quotes omitted). A court must first determine whether a witness is “qualified as an

 7   expert by [his] knowledge, skill, experience, training, or education.” Fed. R. Evid. 702. If the

 8   expert is deemed qualified, that expert may only testify: (i) if his “scientific, technical, or other

 9   specialized knowledge will help the trier of fact to understand the evidence or to determine a fact

10   in issue;” (ii) “the testimony is based on sufficient facts or data;” (iii) “the testimony is the product

11   of reliable principles and methods;” and (iv) “the expert has reliably applied the principles and

12   methods to the facts of the case.” Id. “Maintaining Daubert’s standards is particularly important

13   considering the aura of authority experts often exude, which can lead juries to give more weight to

14   their testimony.” Mukhtar v. Cal. State Univ., 299 F.3d 1053, 1063-64 (9th Cir. 2002).

15            As the party offering the expert opinions, the government bears the burden of establishing

16   its admissibility. Bldg. Indus. Ass’n of Washington v. Washington State Bldg. Code Council, 683

17   F.3d 1144, 1154. (9th Cir. 2012).        And it must establish the Rule 702 requirements by a

18   preponderance of the evidence. Daubert, 509 U.S. at 601 n.10 (citing Bourjaily v. United States,

19   483 U.S. 171, 175-76 (1987)).

20   IV.      ARGUMENT
              A.  Mr. Dubinsky is an Accounting and Tax Professional Who is Not Qualified to
21                Opine on the Legality of Offshore Structures
22            As noted above, Mr. Dubinsky is a forensic accounting, fraud investigations, and damages
23   advisor who could potentially provide expert testimony regarding those topics. But he is not, as
24   proffered by the government, qualified to provide expert opinions on the legality, establishment,
25   and operation of offshore structures, including on the roles of individuals and entities within these
26   structures. To qualify as an expert, a witness must have “knowledge, skill, experience, training, or
27   education” that is relevant to the subject matter of their proposed testimony. Fed. R. Evid. 702. As
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 1   explained by Daubert, the Rule “requires a valid . . . connection to the pertinent inquiry as a

 2   precondition to admissibility.” Id. at 592. In other words, the trial judge must determine whether

 3   the expert testimony has “a reliable basis in the knowledge and experience of [the relevant]

 4   discipline.” Id.

 5           Courts often exclude opinions from individuals who may have the proper qualifications and

 6   experience to provide expert testimony on certain topics, but are unqualified to opine on areas

 7   outside of their expertise. For example, in Banga v. Kanios, the court concluded that a medical

 8   doctor was qualified to opine on plaintiff’s mental health condition, but he was not allowed to

 9   “opine on whether an accommodation is reasonable as a matter of law” because he had not

10   “provided any documentation suggesting that he has any special training in ADA law.” No. 16-cv-

11   04270, 2020 WL 9037179, at *2 (N.D. Cal. Dec. 9, 2020); see Lucido Grasshopper House, LLC v.

12   Clean and Sober Media LLC, No. 2:18-cv-00923, 2019 WL 12074086, at *4 (C.D. Cal. July 1,

13   2019) (expert “highly qualified in the field of addiction medicine and clinical toxicology” not

14   qualified to opine on advertising campaigns and mental state of patients).

15           Similarly, in Jinro Am., Inc. v. Secure Invs., Inc. 266 F.3d 993, 1005 (9th Cir. 2001), the

16   Ninth Circuit excluded testimony from a purported expert on Korean business cultures and

17   practices because “his qualifications to render such opinion testimony were glaringly inadequate.”

18   Specifically, “[h]e did not have the legal, business or financial expertise to evaluate the substance

19   of the [financial] transaction.” Id. at 1006. While acknowledging that the purported expert might

20   have been qualified to testify on certain topics,” id., the Jinro court concluded that he “had no

21   education or training as a cultural expert generally, or as an expert on Korean culture specifically.

22   He was not a trained sociologist or anthropologist.” Id.

23           Here, Mr. Dubinsky provides several opinions that lack any reliable foundation based on

24   his personal experience and expertise. For example, citing no factual or legal authority, Mr.

25   Dubinsky opines on what a trustee of a foreign non-grantor trust should have been doing. He states

26   that:

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 1                       He likewise offers his opinion on the proper structure for a foreign non-grantor

 2   trust, stating that a

 3

 4

 5                                       Citing only an online legal dictionary and marketing materials

 6   posted by an attorney to the LexisNexis News Room, Mr. Dubinsky further opines on the “proper”

 7   role of a trust protector within a foreign non-grantor trust:

 8

 9

10                                                          Mr. Dubinsky goes on to assert, again citing no

11   authority, that the

12                                                                 Later in his Report, Mr. Dubinsky wades

13   into the realm of estate planning expertise, when he blithely opines that

14

15

16

17           None of these opinions derive from Mr. Dubinsky’s stated expertise in “forensic accounting,

18   fraud investigations, and dispute analysis services.” See id. at ¶ 2. Instead, he proffers expert

19   opinions on the “proper” legal role and authority of individuals and entities (e.g., trustees and trust

20   protectors) for offshore structures or “legitimate” estate planning, citing nothing more than an

21   online dictionary and marketing materials (when he cites any authority at all). Nothing in his

22   professional background suggests that Mr. Dubinsky has the requisite “knowledge, skill,

23   experience, training, or education” to provide expert opinions on these topics. If simply spending

24   a few hours on the Internet looking into a topic transforms someone into an expert on that topic,

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     4
26    Mr. Dubinsky also states that the trust protector of a foreign non-grantor trust cannot be the settlor,
     beneficiary, or trustee:
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 1   then Daubert has no real gatekeeper function. As noted above, Mr. Dubinsky does not have a law

 2   degree.        He has zero formal training, education, or experience related to the operation or

 3   maintenance of offshore structures, including an attorney’s role in the creation, operation, or

 4   running of these trusts.       See id. at ¶ 5 (stating qualifications in forensic accounting, fraud

 5   investigations, damages, valuations, investments, etc.). Simply put, Mr. Dubinsky is not qualified

 6   to offer expert opinions on estate planning, offshore trusts, or the legal roles of individuals and

 7   entities within the foreign non-grantor trust structure (e.g., the role of a trustee vs. trust protector).

 8   Thus, the Court should exclude the opinions in Paragraphs 46, 55, 176, 178, 180, 190, and 191 of

 9   the Dubinsky Report.

10             B.       The Court Should Exclude Mr. Dubinsky’s Legal Conclusions and Ultimate
                        Findings of Fact that Improperly Invade the Province of the Jury
11
                        1.     Mr. Dubinsky Improperly Offers Legal Conclusions as Expert Opinions
12
               The Court must also exclude Mr. Dubinsky’s purported expert opinion on a legal conclusion
13
     central to the government’s case, i.e., whether the Excelsior Trust was a grantor or non-grantor
14
     trust. Not only is he not qualified to make such an assertion, the Ninth Circuit has made it clear
15
     that experts cannot “give an opinion as to [their] legal conclusion, i.e., an opinion on an ultimate
16
     issue of law.” Hangarter v. Provident Life & Accident Ins. Co., 373 F.3d 998, 1016 (9th Cir. 2004)
17
     (emphasis in original). “‘When an expert undertakes to tell the jury what result to reach, this does
18
     not aid the jury in making a decision, but rather attempts to substitute the expert’s judgment for the
19
     jury’s.’” Navarro et al. v. Hamilton et al., No. 5:16-CV-1856, 2019 WL 351873, at *2 (C.D. Cal.
20
     Jan. 28, 2019) (citation omitted).
21
               For instance, in United States v. Boulware, the Ninth Circuit excluded testimony from an
22
     expert testimony who sought to “testify that the corporate distributions were legally non-taxable,
23
     either because they were loans, monies placed in trust, or returns of capital.” 558 F.3d 971, 975
24
     (9th Cir. 2009). Similarly, in Risto v. Screen Actors Guild-Am. Fed. of Television and Radio Artists,
25
     et al., the court excluded proffered expert testimony that the relevant agreement “was not an arms-
26
     length transaction” and that a certain fee assessment appeared to contravene “normative law on tax-
27
     exempt entities.” No. 2:18-cv-07241, 2021 WL 4143242, at *8 (C.D. Cal. July 19, 2021). There,
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 1   the court held that the expert’s analysis improperly invaded “the province of the Court by drawing

 2   impermissible legal conclusions concerning the proper construction of laws and the appropriate

 3   application of the law to the facts of this case.” Id.

 4          Here, Mr. Dubinsky summarily concludes that the Excelsior Trust was a non-grantor trust,

 5   devoting his entire “Expert Opinion #3” to this conclusion.

 6

 7

 8                                                                In support of that opinion, he concludes

 9   that

10                                                                         He repeats this legal conclusion

11   elsewhere in the Report:

12

13                                                              While the government can certainly make

14   arguments regarding Smith’s level of control over certain entities, or the legal status of the Excelsior

15   Trust at trial, it cannot proffer testimony by Mr. Dubinsky that “attempts to substitute [his]

16   judgment for the jury’s” on that ultimate issue of law. See Navarro et al., 2019 WL 351873, at *2.

17   Accordingly, the Court should exclude Expert Opinion #3 (and any related opinions) from the

18   Dubinsky Report in its entirety.

19                  2.      Mr. Dubinsky Improperly Couches the Government’s Factual
                            Allegations As Expert Opinions
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             The Court should similarly exclude portions of the Dubinsky Report that improperly
21
     characterize factual “findings” as expert opinions. “Expert testimony should be excluded ‘if it
22
     concerns a subject improper for expert testimony, for example, one that invades the province of the
23
     jury.’” United States v. Lukashov, 694 F.3d 1107, 1116 (9th Cir. 2012). “Experts may not ‘tell the
24
     jury what result to reach’ and substitute their judgment for that of the jury.” Banga, 2020 WL
25
     9037179, at *3. In Banga, the court excluded expert testimony from a medical doctor that included
26
     “factual inferences presented as conclusions” because the expert “may not serve as a narrator and
27
     is prohibited from relaying Defendants’ factual position as if it were his expert one.” Id.
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 1          The Dubinsky Report is replete with factual characterizations or inferences that are couched

 2   as expert opinions. For example, Mr. Dubinsky proffers the highly prejudicial opinion that Mr.

 3   Kepke acted                                                        And he will purportedly “explain

 4   to the jury” how “evidence in the record shows” Mr. Kepke acted as Mr. Smith’s “disguised alter

 5   ego.”5 Such inflammatory language from a purported expert witness is plainly improper and “does

 6   not aid the jury in making a decision, but rather attempts to substitute the expert’s judgment for the

 7   jury’s.” See Banga, 2020 WL 9037179, at *3.

 8          Mr. Dubinsky likewise offers opinions characterizing and interpreting facts related to the

 9   intent of Mr. Smith’s actions that improperly usurp the jury’s fact-finding role. For instance, he

10   opines that:

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14
                                                                     , and that the offshore trust
                                                                                                     -
                                                                           In other words, Mr. Dubinsky

     proffers as “expert opinion” his belief that the facts conclusively establish that Mr. Smith intended

15   to avoid taxes through his offshore structures.

16          There are several other examples of Mr. Dubinsky improperly presenting factual

17   characterizations as expert opinions, including:

18             That Mr. Kepke’s papering of the Excelsior Trust’s was                        Mr. Smith’s

19              actions:

20

21

22             That the Excelsior Trust was                                 for Mr. Smith to exercise his

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                -
      ECF No. 45 at 6 (“Mr. Dubinsky will also explain to the jury how evidence in the record shows
     Smith used Kepke as his disguised alter ego . . . .”).

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 1   None of these opinions are permissible expert testimony as it is ultimately the province of the jury—

 2   not of Mr. Dubinsky— to interpret the evidence and decide whether to agree with the government’s

 3   factual arguments regarding Mr. Smith’s intent and Mr. Kepke’s actions. Thus, the Court should

 4   exclude the opinions in Paragraphs 62, 178, 185, and 192 of the Dubinsky Report.

 5   V.      CONCLUSION

 6           For the foregoing reasons, Mr. Kepke respectfully requests that the Court exclude, or in the

 7   alternative significantly limit, Mr. Dubinsky’s proffered expert testimony to the extent that it: (a)

 8   exceeds his professional training and expertise or (b) purports to offer impermissible legal

 9   conclusions or usurp the role of the jury as the ultimate finders of fact.

10
                                                   Respectfully submitted,
11
     Dated: August 5, 2022                         By: /s/ Grant P. Fondo
12                                                     GRANT P. FONDO (SBN 181530)
                                                       GFondo@goodwinlaw.com
13                                                     GOODWIN PROCTER LLP
14                                                      Attorney for Defendant:
                                                        CARLOS E. KEPKE
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 1                                       CERTIFICATE OF SERVICE

 2          I hereby certify that I electronically filed the foregoing with the Clerk of the Court for the

 3   United States District Court for the Northern District of California by using the CM/ECF system

 4   on August 5, 2022. I further certify that all participants in the case are registered CM/ ECF users

 5   and that service will be accomplished by the CM/ECF system.

 6          I certify under penalty of perjury that the foregoing is true and correct. Executed on August

 7   5, 2022 in Los Altos, California.

 8

 9                                                           /s/ Grant P. Fondo
                                                             GRANT P. FONDO
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